UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------   X
                                                                        :
UNITED STATES OF AMERICA,                                               :   18-CR-603 (ARR)
                                                                        :
                                                                        :   NOT FOR ELECTRONIC
         -against-                                                      :   OR PRINT PUBLICATION
                                                                        :
ABDI YUSUF HASSAN,                                                      :
                                                                        :   OPINION & ORDER
                           Defendant.                                   :
                                                                        :
---------------------------------------------------------------------   X


ROSS, United States District Judge:

         Defendant, Abdi Yusuf Hassan, has moved for reconsideration of my previous bond denial

or in the alternative for temporary release in advance of pre-trial proceedings. Def.’s Mot. 2–8,

ECF No. 99. The government opposes. Gov’t’s Opp’n 8–19, ECF No. 100. For the following

reasons, I deny both requests.

                                               BACKGROUND

         Defendant faces charges of (1) providing material support for acts of terrorism, in violation

of 18 U.S.C. § 2339A; (2) conspiring to provide material support for acts of terrorism, in violation

of 18 U.S.C. § 2339A; (3) hostage-taking and aiding and abetting hostage-taking, in violation of

18 U.S.C. §§ 1203 and 2; (4) hostage-taking conspiracy, in violation of 18 U.S.C. § 1203; (5)

threatening to use a weapon of mass destruction against a U.S. national, and aiding and abetting

the same, in violation of 18 U.S.C. §§ 2332a and 2; (6) conspiracy to possess a firearm in

furtherance of a crime of violence, in violation of 18 U.S.C. § 924(o); and (7) possession of a

firearm in furtherance of a crime of violence, and aiding and abetting the same, in violation of 18

U.S.C. §§ 924(c) and 2. Superseding Indictment, ECF No. 37. These charges stem from the




                                                         1
kidnapping of a U.S. citizen victim in Somalia. Gov’t’s Opp’n 3–4.

        Defendant first received a bail hearing before a federal district court in Minnesota on

February 21, 2019. Bond Order 8, ECF No. 9. The court denied release, finding there was clear

and convincing evidence that no conditions or combination of conditions of release would

reasonably assure Mr. Hassan’s appearance in court or the safety of the community. Id. at 9.

Regarding flight risk, the court considered that Mr. Hassan possessed multiple passports, had

substantial family and government contacts in Somalia, and faced possible life imprisonment. Id.

at 9–10. Regarding danger, the court considered the severity of the allegations in the complaint.

Id. at 10.

        Defendant received a second bail hearing before me on August 14, 2019, and I denied bail,

as well. See Aug. 2014 Bail Tr., Gov’t’s Opp’n Ex. A, ECF No. 100-1. Noting that the charged

weapons and terrorism offenses established a presumption of flight risk and danger, I found that

the government had “amply met both its burden of proving that defendant is a flight risk and a

danger to the community, and that there are no conditions or combination of conditions that could

reasonably ensure either the defendant’s presence at trial or the safety of the community.” Id. at

13:18–22. Regarding flight risk, I credited the seriousness of the charged offenses, four of which

carry potential life sentences and one of which carries a thirty-year mandatory minimum. Id. at

14:1–9. I also considered the weight of the evidence, finding that the government’s proffer, which

included projected witness testimony, physical evidence, and social media posts, outweighed

defendant’s concerns that the victim’s identification of him—the “sole identification” known at

the time—was unreliable. Id. at 14:12–15:24. I then noted defendant’s significant foreign ties to

family members abroad and the Government of Somalia, where he served as a minister of interior

and security in the province in which the victim was held captive. Id. at 16:1–16. Based on the




                                                2
same evidence, I found that Mr. Hassan posed “a danger to the global community” and rejected

defendant’s proffered bail package. Id. at 16:21–17:7.

       Since then, defendant has remained detained at the Metropolitan Detention Center

(“MDC”) in Brooklyn pending trial. Def.’s Mot. 4. In discovery, defendant learned that in 2014,

the victim failed to identify Mr. Hassan in a photo array. Id. at 2; Gov’t’s Opp’n 1. This failed

identification occurred five years before the victim positively identified Mr. Hassan in a photo

array in 2019—the identification defendant challenged in his original bail hearing. Def.’s Mot. 3.

       Additionally, the parties have been preparing for Rule 15 depositions to take place in

Somalia, potentially in the next few months. Id. at 4. Due to the COVID-19 pandemic, defendant

submits that he can only communicate with counsel through fifteen-minute phone calls and limited

legal video calls. Id. Given these restrictions, defense counsel claims he has been unable to review

3500 materials with defendant. Id. The government notes that legal calls are supposed to last for

thirty minutes, and counsel may request longer time periods. Gov’t’s Opp’n 14 n.3. Moreover, in-

person legal visits resumed at the MDC on February 16, 2021. Id. at 14.

       Nevertheless, the COVID-19 pandemic continues to affect people incarcerated at the MDC.

As of March 3, 2021, the Bureau of Prisons (“BOP”) reports seven active cases among inmates

and seventeen among staff. COVID-19 Cases, BOP, https://www.bop.gov/coronavirus (last

updated Mar. 3, 2021) (“BOP COVID Cases”). Mr. Hassan is fifty-three years old and suffers from

“elevated blood pressure.” Def.’s Mot. 8; Medical Records, Def.’s Mot. Ex. E (filed under seal).

The Centers for Disease Control and Prevention (“CDC”) have classified “high blood pressure” as

a comorbidity that “might” increase a person’s risk for severe illness from COVID-19. People with

Certain Medical Conditions, CDC, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html      (last   updated   Feb.   22,   2021)   (“CDC




                                                 3
Guidelines”). The CDC also has noted that “people in their 50s are at higher risk for severe illness

than people in their 40s,” but “[t]he greatest risk for severe illness from COVID-19 is among those

aged 85 or older.” Older Adults, CDC, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/older-adults.html (last updated Feb. 26, 2021) (“CDC Older Adults”). Mr. Hassan,

however, received the first dose of the Pfizer vaccine on January 22, 2021 and was set to receive

the second dose around the end of February. Gov’t’s Opp’n 2.

                                      LEGAL STANDARD

       I must order pre-trial detention if I find that “no condition or combination of conditions

will reasonably assure the appearance of [a defendant] as required and the safety of any other

person and the community.” 18 U.S.C. § 3142(e). Four factors inform this determination: (1) the

nature and circumstances of the crimes charged; (2) the weight of the evidence against the

defendant; (3) the history and characteristics of the defendant, including, among other things, the

defendant’s character, ties to the community, past conduct, and financial resources; and (4)

whether the defendant poses a danger to the community if released. Id. § 3142(g). Where, as here,

a defendant faces charges under 18 U.S.C. § 924(c) or a terrorism statute listed in 18 U.S.C. §

2332b(g)(5)(B) that carries a maximum sentence of 10 years or more, a rebuttable presumption

arises that no condition or combination of conditions will reasonably assure the appearance of the

defendant and the safety of the community. Id. §§ 3142(e)(3)(A), (C).

       “Where there is such a presumption, the defendant ‘bears a limited burden of production—

not a burden of persuasion—to rebut that presumption by coming forward with evidence that he

does not pose a danger to the community or a risk of flight.’” United States v. English, 629 F.3d

311, 319 (2d Cir. 2011) (quoting United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)).

“Satisfying the burden of production does not eliminate the presumption favoring detention; it




                                                 4
‘remains a factor to be considered among those weighed by the district court.’” Id. (quoting

Mercedes, 254 F.3d at 436). “At all times, however, ‘the government retains the ultimate burden

of persuasion by clear and convincing evidence that the defendant presents a danger to the

community,’ and ‘by the lesser standard of a preponderance of the evidence that the defendant

presents a risk of flight.’” Id. (quoting Mercedes, 254 F.3d at 436).

       Even if a defendant has been ordered detained prior to trial, a “judicial officer may, by

subsequent order, permit the temporary release of the person, in the custody of the United States

marshal or another appropriate person, to the extent that the judicial officer determines such release

to be necessary for preparation of the person’s defense or for another compelling reason.” 18

U.S.C. § 3142(i).

                                          DISCUSSION

  I.   Bond Is Not Warranted.

       Defendant claims that the evidence showing the victim once failed to identify Mr. Hassan

in a photo array in 2014 so undermines the government’s case against him that it warrants his

release. Def.’s Mot. 2–3. The government submits, however, that this evidence is outweighed by

the victim’s identification of Mr. Hassan in 2019 and the significant corroborating evidence for

that identification, including witness testimony, physical evidence, and social media evidence.

Gov’t’s Opp’n 9–11.

       I agree with the government that defendant’s new evidence does not tip the weight of the

evidence in favor of release. Defendant had raised concerns about the 2019 identification in his

original bail hearing, and I had credited the government’s proffer that it would produce evidence

at trial of defendant’s close coordination with coconspirators through witness testimony, physical

evidence, and social media evidence. Sentencing Tr. 14:12–15:24. Since then, the government has




                                                  5
shared further details about this evidence, including the expected testimony of the victim and a

confidential source who will testify that hostage takers used Mr. Hassan’s house for meetings and

to store weapons. Gov’t’s Opp’n 9–10. The government also plans to introduce “(i) recordings of

proof-of-life communications that [the victim] identified as directed in part by the defendant; (ii)

records showing the defendant travelling outside the United States consistent with the time period of

his interactions with [the victim]; and (iii) social media evidence demonstrating the defendant’s online

contacts with several co-conspirators . . . .” Id. at 10. While defendant’s new evidence amplifies

concerns over the victim’s identification of Mr. Hassan, the government’s new evidence, at the very

least, counterbalances those concerns. Thus, the weight of the evidence remains the same as it was

when I denied Mr. Hassan’s initial bail request.

        Even if I found the weight of the evidence favored defendant, the seriousness of the charged

offenses and the nature of his foreign ties would outweigh that factor. As I noted in my previous

bond determination, Mr. Hassan faces potential life imprisonment for kidnapping and hostage-

taking and a thirty-year mandatory minimum sentence for firearms offenses. Sentencing Tr. 14:1–

9. He also has extensive ties in his native Somalia, where he served as a minister of interior and

security in the province in which the victim was held captive. Id. at 16:1–16. Given these facts,

defendant’s misidentification evidence cannot overcome the presumption attached to the charged

offenses that no combination of conditions could reasonably assure Mr. Hassan’s presence in court

or the safety of the community.

 II.    Temporary Release Is Not Warranted.

        Mr. Hassan argues that he is entitled to temporary release because COVID-19 restrictions

at the MDC have prevented him from reviewing 3500 materials with counsel in anticipation of

Rule 15 depositions in Somalia, which he claims will take place within the next couple of months.

Def.’s Mot. 3–7. The government notes, however, that in-person legal visits at the MDC resumed


                                                   6
on February 16, 2021. Gov’t’s Opp’n 14. It also offered to discuss exempting certain materials

from the protective order to facilitate deposition preparation if in-person legal visits are suspended

again. Id. at 15. I recognize that the inability to meaningfully consult with legal counsel in

preparing for trial can be a “compelling reason” warranting temporary release under 18 U.S.C. §

3142(i). See United States v. Chandler, No. 19-CR-867 (PAC), 2020 WL 1528120, at *2 (S.D.N.Y.

Mar. 31, 2020) (collecting cases). However, given the government’s representations, I see no need

to release Mr. Hassan temporarily to review 3500 materials. The parties appear to be capable of

solving access issues among themselves and in consultation with the MDC.

III.    The COVID-19 Pandemic Does Not Justify Indefinite or Temporary Release.

        Lastly, Mr. Hassan argues that the COVID-19 pandemic compels his release, either

indefinitely or temporarily, because he is fifty-three years old and suffers from elevated blood

pressure, both of which may increase his risk of serious illness from contracting the virus. Def.’s

Mot. 7 –8. The government submits, however, that Mr. Hassan received the first round of the Pfizer

vaccine in late January and was scheduled to receive the second round of the vaccine shortly

thereafter. Gov’t’s Opp’n 2. While I do not underestimate the toll the pandemic has taken on

incarcerated people or the recent uptick in infections at the MDC, Mr. Hassan’s age and medical

condition do not outweigh the danger and flight risk considerations I already have discussed. See,

e.g., United States v. Estevez, No. 18-CR-669 (JPO), 2020 WL 1911207, at *1 (S.D.N.Y. Apr. 20,

2020) (balancing risk posed by defendant’s high blood pressure and the COVID-19 pandemic

against defendant’s risk of danger to the community). Even if they did, Mr. Hassan should gain

effective immunity from the virus within the next few weeks, having received a full round of the

Pfizer vaccine. See Noah Weiland & Carl Zimmer, Pfizer’s Vaccine Offers Strong Protection After

First   Dose,   The    New    York     Times    (Dec.   8,   2020)    (updated    Feb.   26,   2021),




                                                  7
http://www.nytimes.com/2020/12/08/health/covid-vaccine-pfizer.html          (citing   announcement

stating Pfizer vaccine “had an efficacy rate of 95 percent after two doses administered three weeks

apart”). Thus, Mr. Hassan is not entitled to release on this basis.


                                          CONCLUSION

         For the foregoing reasons, I deny defendant’s motion to reconsider my previous bond

determination or in the alternative order Mr. Hassan’s temporary release.




SO ORDERED.




                                                       ____/s/_________________
                                                       Allyne R. Ross
                                                       United States District Judge

Dated:         March 4, 2021
               Brooklyn, New York




                                                  8
